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                            UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF LOUISIANA
                                 LAFAYETTE DIVISION


   STATE OF ARIZONA, et al.,


                  Plaintiffs,                         Civil Action No.: 6:22-cv-00885-RRS-CBW

          v.
                                                      Judge: Robert R. Summerhays
   CENTERS FOR DISEASE CONTROL &                      Magistrate Judge: Carol B. Whitehurst
   PREVENTION, et al.,

                  Defendants.


                                      NOTICE OF APPEAL

         Notice is hereby given that Innovation Law Lab appeals to the United States Court of

  Appeals for the Fifth Circuit from this Court’s May 13, 2022 ruling denying its Motion for

  Limited Intervention (see ECF No. 83) as well as this Court’s May 20, 2022 Memorandum

  Opinion and Order (ECF Nos. 90 & 91) granting Plaintiffs’ motion for preliminary injunction on

  a nationwide basis. See DeOtte v. State, 20 F.4th 1055 (5th Cir. 2021).


  Respectfully submitted,                                      Dated: May 24, 2022

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